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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Ginette Ayeni
                                Plaintiff,
v.                                                   Case No.: 1:14−cv−06726
                                                     Honorable Edmond E. Chang
Blitt and Gaines, P.C.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 6, 2018:


        MINUTE entry before the Honorable Edmond E. Chang:In view of the settlement
of fees and costs, the status hearing of 02/13/2018 is vacated. Emailed notice(slb, )




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